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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES -
                                    GENERAL



 Case No.       5:22-cv-01934-SSS-SPx                               Date   September 6, 2024
 Title     Rosa Nunez, et al. v. County of San Bernardino, et al.


 Present: The Honorable        SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE
               Irene Vazquez                                         Myra Ponce
                Deputy Clerk                                        Court Reporter
   Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
       Benjamin Stamler Levine                                  Michelle R. Prescott
       Dominique Leah Boubion                                 Christopher P. Wesierski
          Michael S. Carrillo


Proceedings:       ZOOM STATUS CONFERENCE

      Counsel state their appearances. The Court confers with counsel regarding
new final pretrial conference and trial dates. For the reasons stated on the record,
the parties are DIRECTED to meet and confer. A joint report shall be filed by
noon on Tuesday, September 10, 2024. Upon receipt of the joint report, the parties
will be notified as to the Court’s decision on the new dates either by minute order or
email communication, or both.

         IT IS SO ORDERED.




                                                                                       Time: 00:14
                                                                             Initials of Preparer: iv
